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             EXHIBIT A
        Case 1:24-cr-00542-AS                Document 230-1                 Filed 04/16/25          Page 2 of 3


From:             Montesano, Leah
To:               teny@agilawgroup.com
Cc:               Anna Estevao; Marc Agnifilo; Alexandra Shapiro; Anna Estevao; Jason A. Driscoll
Subject:          FW: U.S. v. Combs, S2 24 Cr. 542 (AS)
Date:             Thursday, March 20, 2025 11:10:27 AM
Attachments:      image001.png
                  image002.png
                  image003.png
Importance:       High



Dear Ms. Geragos,

I handle litigation for Warner Bros. Discovery and write in response to your email below to Priya Aiyar.
Please direct future correspondence regarding this matter to me.

The company cannot accept formal legal documents over email. If you would please serve the
company with the subpoena through its agent for service of process, we would appreciate it. Thanks
very much.

Best,

Leah Montesano
Senior Vice President, Litigation
+1 301 346 1536




From: Teny Geragos <teny@agilawgroup.com>
Sent: Wednesday, March 19, 2025 7:28 PM
To: Aiyar, Priya <priya.aiyar@wbd.com>
Cc: Anna Estevao <AEstevao@shertremonte.com>; Marc Agnifilo <marc@agilawgroup.com>;
Alexandra Shapiro <ashapiro@shapiroarato.com>; Anna Estevao <AEstevao@shertremonte.com>;
Jason A. Driscoll <jdriscoll@shapiroarato.com>
Subject: U.S. v. Combs, S2 24 Cr. 542 (AS)
Importance: High


EXTERNAL SENDER: Caution opening links or attachments

Dear Ms. Aiyar,

We represent Mr. Sean Combs in the above-captioned case and have a signed subpoena from the
Court directed to Warner Bros. Discovery. Please let us know if you will accept service. The
subpoena’s return date is March 25, 2025.
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